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 6                        IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8
     United States of America,                            No. CR-18-00422-PHX-SMB
 9
10                         Plaintiff,                               ORDER
11            vs.
12
     Michael Lacey, et al.,
13
                           Defendants.
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15          Based upon the United States of America’s Motion for Leave to File Non-Electronic
16   Exhibit to its Motion in Limine to Determine Admissibility of Evidence, and good cause
17   appearing,
18          IT IS HEREBY ORDERED granting the United States’ Motion for Leave.
19          IT IS FURTHER ORDERED granting the United States’ permission to file a
20   compact disc containing trial exhibits.
21          Dated this            day of April, 2020.
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